
JUDGE BOULDIN
delivered the opinion of the Court, as follows :
“ The prisoner was indicted and found guilty, and a new trial awarded, and the prisoner, remanded to jail, from whence he escaped,- as it is- supposed.' -'Writs of Capias were awarded, to the number of four, and returned ‘ not found,’ followed by an Exigent, which is returned ‘ quinto exactus;’ and, thereupon, the Attorney for-the Commonwealth moved the Court for a judgment of outlawry, and the questions of Law arising thereon being considered new and difficult, were adjourned to this Court: on consideration whereof, this Court is of opinion, that, upon the due execution of the Writ of Exigent awarded in this case, and before the return day thereof, judgment of outlawry *ought to have been pronounced by the Coroner of the county. The Court is therefore of opinion, that the aforesaid motion should be over-ruled, and as no such judgment can now be rendered by the said Coroner, a new Writ of Exigent should be awarded, to be proceeded on as aforesaid : which is ordered to be certified to the said Superior Court of Eaw.”
